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 8                           UNITED STATES DISTRICT COURT
 9                        NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN JOSE DIVISION
11
12 HOWARD HERSHIPS,                                  Case No. 5:20-cv-07208 NC
13                   Plaintiff,                      SUA SPONTE JUDICIAL
                                                     REFERRAL FOR PURPOSES OF
14           v.                                      DETERMINING RELATIONSHIP
                                                     OF CASES
15 SHERIFF LAURIE SMITH, et al.,
16                   Defendant.
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18        In accordance with Civil Local Rule 3-12(c), IT IS HEREBY ORDERED that the
19 above captioned case is referred to Magistrate Judge Robert M. Illman to determine whether
20 it is related to 1:15-cv-05277 RMI, Brian Chavez, et al v. County of Santa Clara..
21        IT IS SO ORDERED.
22
23        Date: October 26, 2020                  _________________________
                                                  Nathanael M. Cousins
24                                                United States Magistrate Judge
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     Case No. 5:20-cv-07208 NC
     SUA SPONTE JUDICIAL REFERRAL
     RE: RELATING CASES
